Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 1 of 31




                                EXHIBIT 2
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 2 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 3 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 4 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 5 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 6 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 7 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 8 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                  2 Page 9 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 10 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 11 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 12 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 13 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 14 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 15 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 16 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 17 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 18 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 19 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 20 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 21 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 22 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 23 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 24 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 25 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 26 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 27 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 28 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 29 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 30 of 31
Case 22-07668   Doc 230-2   Filed 04/24/24 Entered 04/24/24 15:49:18   Desc Exhibit
                                 2 Page 31 of 31
